       Case 2:20-cv-02002-DJH Document 10 Filed 10/29/20 Page 1 of 1



Phoenix Piofessionai Services
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                                  IN THE UNITED STATES DISTRICT COURT
                                   IN AND FOR THE DISTRICT OF ARIZONA

 TODD SCHWARTZ, a marrietd man.
                                                          Plaintiff
 vs.                                                                            CASE NO. 2;20-cv-02002-
                                                                                        DJH
 4 EVER LIFE INTERNATIONAL LIMITED 6ba 4 EVER LIFE
 INSURANCE COMPANY: an Illinois corporation; BLUE
 CROSS AND BLUE SHIELD OF ARIZONA, INC,, an Arizona                            CERTIFICATE OF SERVICE
 non-profit corporation: ancj BLACK and WHITE                                       OF PROCESS
 CORPORATIONS l-X,
                                                         Defendant,

       I, the Affiant, certify under penalty of perjury that I am fully qualified to serve process in this case
having been so appointed by the Court: that I have received and served the following documents in the
manner set forth below
RECEIVED FROM:           Tiffany & Bosco, P.A.
DATE RECEIVED-           October 26, 2020
DOCUMENTS                Summons, First Amended Complaint, Certificate of Compulsory Arbitration: Notice
                         of Removal. Order Setting Rule 16 Schedule Conference, Notice of Availability of
                         US Magistrate Judge: Order; check for service fee
UPON;                    4 EVER LIFE INTERNATIONAL LIMITED, dba 4 Ever Life Insurance Company, c/o
                         Arizona Department of Insurance
ADDRESS:                 100 N 15th Avenue, Ste, 102, Phoenix, AZ
MANNER;                  Personally hand-delivered said documents to Ashley M., a person authorized to
                         accept at her usual place of employment,
DATE:                    October 26, 2020                                    TIME: 4:30 PM
DESCRIPTION



        I certify under penalty of perjury that the foregoing is true and correct
                                                                                                  .I




                                                                      Affiant; Edward Pulley
Dated this ^W^ay of                              2020                 Registered: Maricopa County

Service                       16.00
Travel miles;        7        16 80
Attempt miles        0         0 00
Attempt miles        0         0 00
Attempt miles        0         0 00
Other                          0 00
Cert Prep fee                  8 00
                              40 80

RCGhm - 237775-001
